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                  IN THE UNITED STATES DISTRICT COURT
                   FOR THE WESTERN DISTRICT OF TEXAS
                             WACO DIVISION


                                   )
WSOU INVESTMENTS, LLC d/b/a BRAZOS )       Case No. 6:20-cv-00580-ADA
LICENSING & DEVELOPMENT,           )       Case No. 6:20-cv-00585-ADA
                                   )
           Plaintiff,              )
                                   )       JURY TRIAL DEMANDED
     v.                            )
                                   )
GOOGLE, LLC,                       )
                                   )
           Defendant               )
                                   )




DECLARATION OF JOSEPH M. ABRAHAM ON BEHALF OF PLAINTIFF BRAZOS
      LICENSING & DEVELOPMENT IN SUPPORT OF PLAINTIFF’S
                MOTION FOR SUMMARY JUDGMENT
         CONCERNING GOOGLE’S AFFIRMATIVE DEFENSES
        Case 6:20-cv-00585-ADA Document 169 Filed 06/28/23 Page 2 of 2




I, Joseph M. Abraham, declare as follows:

       1.     I am an attorney duly admitted to practice before this Court.

       2.     I am a principal of Folio Law Group PLLC, counsel of record for Plaintiff WSOU

Investments, LLC d/b/a Brazos Licensing & Development (“Brazos”).

       3.     I have personal knowledge of the facts set forth herein, and if called as a witness, I

could and would competently testify thereto.

       4.     I make this declaration in support of Plaintiff Brazos Licensing & Development’s

Motion for Summary Judgment Concerning Google’s Affirmative Defenses.

       5.     Attached, as Exhibit A, is a true and correct copy of Brazos Licensing and

Development’s Third Set of Interrogatories to Defendant Google, dated September 15, 2021.

       6.     Attached, as Exhibit B, is a true and correct copy of excerpts of Defendant Google

LLC’s Objections and Responses to WSOU’s Third Set of Interrogatories (Nos. 10-15) (580 Case),

dated October 15, 2021.

       7.     Attached, as Exhibit C, is a true and correct copy of excerpts of Defendant Google

LLC’s Objections and Responses to WSOU’s Third Set of Interrogatories (Nos. 10-15) (585 Case),

dated October 15, 2021.



       I declare under penalty of perjury that the foregoing is true and correct.

       Executed in Austin, Texas, on June 28, 2023.

                                                             By:     /s/ Joseph M. Abraham
                                                                      Joseph M. Abraham
